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 4
   Attorney for:
 5 EDGAR HERRERA

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 8                         IN THE UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        CASE NO. 2:15-CR-00131 TLN
12                                Plaintiff,          STIPULATION SPECIFYING
                                                      AMOUNT OF SECURED BOND
13   v.                                               AND ALLOWING FOR THE
                                                      FILING OF CONFORMING
14   EDGAR HERRERA,                                   APPEARANCE BOND; ORDER
15                                Defendant,
16

17                                         STIPULATION
18
           Plaintiff, United States of America, by and through its counsel of record, and
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     defendant EDGAR HERRERA, by and through his counsel of record, hereby stipulate as
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21 follows:

22         1.      By previous order, the Honorable Jennifer L. Thurston, ordered defendant
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     EDGAR HERRERA to post “a full equity property bond secured by the equity in property
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     owned by Mauricio Pulido.” See Dkt. No. 67.
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           2.      In order to comply with the Court’s order, defendant must choose a reputable

27 and experienced trustee for the deed of trust securing the property bond. As such, defendant

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     has chosen, Chicago Title Company, to be the trustee. The proposed trustee, as with any
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 2 reputable and experienced trustee, requires the deed of trust to state an unambiguous value

 3 (normally a dollar amount) in the deed of trust to ensure proper administration of the deed of

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     trust if defendant’s bond is ever forfeited.
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            3.      The parties agree and stipulate, based on the bond surety’s mortgage balance
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 7 and recent residential appraisal, that the equity in the property owned by Mauricio Pulido to

 8 be used to secure defendant’s bond is $74,122.00.

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            4.      The parties agree and stipulate that a deed of trust in the amount of $74,122.00
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     may be used to satisfy the Court’s order for a “full equity property bond.”
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12          5.      Furthermore, because the deed of trust must reference the appearance and

13 compliance bond, the parties stipulate that the defendant may file a new appearance and

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     compliance bond with all of the same terms and conditions as the originally filed appearance
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     and compliance bond (Dkt. No. 70, pp. 4-5), except that the dollar amount in item 3, which
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17 presently states “full value of equity,” may be modified to state $74,122.00.

18          6.      Pretrial Services Officer, Frank Guerrero (Bakersfield Office) has been
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     consulted and has no objection to this stipulation and [proposed] order.
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     IT IS SO STIPULATED.
21
     DATED: October 21, 2015                             BENJAMIN WAGNER
22                                                       United States Attorney
23                                              by       /s/ Christiaan Highsmith
                                                         Christiaan Highsmith
24                                                       Assistant U.S. Attorney
25 DATED: October 21, 2015                               /s/ Scott Cameron
                                                         SCOTT N. CAMERON
26                                                       Counsel for EDGAR HERRERA
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                                                     2
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 1                                     ORDER
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         IT IS SO ORDERED.
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 4 Dated: October 21, 2015

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